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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )             CASE NO. 8:08CR137
                                             )
             Plaintiff,                      )
                                             )
             vs.                             )                    ORDER
                                             )
HARVEY L. LANE,                              )
                                             )
             Defendant.                      )


      This matter is before the Court on the Defendant’s unopposed motion for an

extension of time until July 21, 2008, to file a brief supporting his objections to the

Magistrate Judge’s Report and Recommendation (Filing No. 54).

      IT IS ORDERED:

      1.     The Defendant’s motion for an extension of time (Filing No. 54) to file a brief

             in support of his objections to the Magistrate Judge’s Report and

             Recommendation is granted; and

      2.     The Defendant’s supporting brief must be filed on or before July 21, 2008.

      DATED this 17th day of July, 2008.

                                                 BY THE COURT:


                                                 s/Laurie Smith Camp
                                                 United States District Judge
